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  UNITED STATES DISTRICT COURT                              EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                         §
                                                  §
 versus                                           §   CASE NO. 1:20-CR-14
                                                  §
 BENJAMIN KALEB JACKSON                           §

     ORDER ADOPTING REPORT AND RECOMMENDATION ON COMPETENCY

          The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate

 Judge, for consideration. Judge Giblin conducted a hearing to determine defendant’s competency

 to proceed. Judge Giblin concluded that the defendant is competent under 18 U.S.C. § 4241.

          The parties have not filed objections to the magistrate judge’s findings and

 recommendation. The Court ORDERS that the report and recommendation on defendant’s

 competency to proceed (#31) is ADOPTED. The Court further ORDERS and FINDS that

 defendant, Benjamin Kaleb Jackson, is competent pursuant to Title 18, United States Code, Section

 4241. The Court finally ORDERS that Speedy Trial time is EXCLUDED from February 28,

 2020, the date of Judge Giblin’s order directing a mental examination (#15), through the date of

 this order.


            SIGNED at Beaumont, Texas, this 30th day of September, 2020.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
